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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

TIMOTHY DUGAN,                                        )
                                                      )      Case No. 1:17-cv-04243
               Plaintiff,                             )
                                                      )      Judge: Charles R. Norgle, Sr.
v.                                                    )
                                                      )      Magistrate Judge: Jeffrey T. Gilbert
MIDLAND FUNDING, LLC and MIDLAND                      )
CREDIT MANAGEMENT, INC.,                              )
                                                      )
               Defendants.                            )

                            DEFENDANTS' AMENDED WITNESS LIST

       Defendants,     MIDLAND         FUNDING,        LLC     (MF)    and    MIDLAND        CREDIT

MANAGEMENT, INC. (MCM) by and through their attorneys David M. Schultz and Lindsey A.L.

Conley, submit an amended witness list to the joint pre-trial order:

Defendant will call the following witnesses at trial:

1.     Kevin Mortell – Corporate Representative for Midland Credit Management, Inc. and

Midland Funding LLC.

Defendant may call the following witnesses at trial:

1.     Timothy Dugan - Plaintiff


                                                    Respectfully submitted,
                                                    MIDLAND FUNDING, LLC AND
                                                    MIDLAND CREDIT MANAGEMENT, INC.,
                                                    Defendants
                                                    /s/ Lindsey A.L. Conley
                                                    Lindsey A.L. Conley
David M. Schultz
Lindsey A.L. Conley
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                                CERTIFICATE OF SERVICE

         I hereby certify that on April 26, 2018, I electronically filed with the Clerk of the U.S.
District Court, Northern District of Illinois Eastern Division, the foregoing Defendants’ Amended
Witness List to Pre-Trial Order, by using the CM/ECF system, which will send notification of
such filing(s) to all counsel of record.



                                                  /s/ Lindsey A.L. Conley




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